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                                                         BROOKLYN OFFICE




                                                      24-CR-362




                                      Judge Eric R. Komitee
                                      Magistrate Judge Lara K. Eshkenazi
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